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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1609V
                                        UNPUBLISHED


    JESUS ROMO-VILLANUEVA,                                   Chief Special Master Corcoran

                        Petitioner,                          Filed: November 12, 2019
    v.
                                                             Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                  Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                          Table Injury; Influenza (Flu) Vaccine;
                                                             Guillain-Barre Syndrome (GBS)
                        Respondent.


Henry Lawrence Jacobs, Law Offices of Henry Jacobs, PLLC, Tucson, AZ, for
petitioner.

Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

        On October 17, 2018, Jesus Romo-Villanueva filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that he developed Guillain-Barré syndrome
(“GBS”) as a result of an influenza (“flu”) vaccine administered to him on October 11,
2017. Petition at 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

      On November 1, 2019, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule

1I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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4(c) Report at 1. Specifically, Respondent states that “petitioner has satisfied the
criteria set forth in the recently revised Vaccine Injury Table.” Id. at 4. Respondent
further agrees that “petitioner suffered the residual effects of his GBS for more than six
months.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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